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U 3 BANKRQNW§WTATES BANKRUPTCY APPELLATE PANEL ' ' 28 2017
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ln re: ANTHONY THOMAS; WENDI
THOMAS; AT EMERALD, LLC

BAP No.: Nv-16-1058-KuL!u

Debtors

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Appellants
V.
KENMARK vEN'rUREs, LLC Mar¢h 28, 2017

Appellee

 

 

JUDGMENT
ON APPEAL from the United States Bankruptcy Court for Nevada - Reno.
THIS CAUSE came on to be heard on the record from the above court

ON CONSH)ERATION WHEREOF, it is ordered and adjudged by this Panel that they
judgment of the Bankruptcy Court 1s AFFIRMED 1

FOR THE PANEL,

Susan M Spraul
Clerk of Court
By: Vincent Barbato, Deputy Clerk

mm Match 28. 2017

 

 

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